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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
  Greg Blatt,                                                            CASE NUMBER
                                                                                               2:19-cv-07046-MWF-FFMx
                                                          Plaintiff(s)
                             v.
  Rosette Pambakian and Sean Rad,                                         (PROPOSED) ORDER ON APPLICATION OF
                                                                          NON-RESIDENT ATTORNEY TO APPEAR IN
                                                      Defendant(s).           A SPECIFIC CASE PRO HAC VICE
 The Court, having determined whether the required fee has been paid, and having reviewed the Application of
 Non-Resident Attorney to Appear in a Specific Case Pro Hac Vice filed by
   Bhatia, Vineet                                                                  of        Susman Godfrey L.L.P.
   Applicant’s Name (Last Name, First Name & Middle Initial                                  1000 Louisiana Street
   (713) 653-7855                          (713) 654-6666                                    Suite 5100
   Telephone Number                 Fax Number                                               Houston, Texas 77002
   vbhatia@susmangodfrey.com
                          E-Mail: Address                                                    Firm/Agency Name & Address
 for permission to appear and participate in this case on behalf of
   Greg Blatt


   Name(s) of Party(ies) Represent                                 ☐ Plaintiff(s) ☐ Defendant(s) ☐ Other:
 and designating as Local Counsel
   Brook, Davida                                                                        of     Susman Godfrey L.L.P.
   Designee’s Name (Last Name, First Name & Middle Initial                                     1900 Avenue of the Stars, Suite 1400
   275370                          (310) 789-3100             (310) 789-3150                   Los Angeles, CA 90067
     Designee’s Cal. Bar              Telephone                    Fax Number
            No.                        Number
   dbrook@susmangodfrey.com
                                  E-Mail Address                                               Firm/Agency Name & Address
 HEREBY ORDERS THAT the Application be:
   ☐GRANTED
   ☐DENIED:            ☐    for failure to pay the required fee.
                       ☐    for failure to attach a Certificate of Good Standing issued within 30 days prior to filing of Application.
                       ☐    for failure to complete Application:
                       ☐    pursuant to L.R. 83-2.1.3.2: ☐Applicant resides in California; ☐ previous Applications listed indicate Applicant
                            is regularly employed or engaged in business, professional, or other similar activities in California.
                       ☐    pursuant to L.R. 83-2.1.3.4; Local Counsel: ☐ is not member of Bar of this Court; ☐ does not maintain office
                            District.
                       ☐ because
 IT IS HEREBY FURTHER ORDERED THAT the Application fee, if paid: ☐ be refunded ☐ not be refunded.

 Dated:
                                                                                 U.S. District Judge/U.S. Magistrate Judge

  G-64 Order (05/16)   (PROPOSED) ORDER ON APPLICATION OF NON-RESIDENT ATTORNEY TO APPEAR IN A SPECIFIC CASE PRO HAC VICE                Page 1 of 1
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